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 8
 9                              UNITED STATES DISTRICT COURT

10                                  DISTRICT OF ARIZONA
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12
     JULIAN MORA and JULIO MORA,
13                                                   No. CV 09-01719-PHX-DGC
                          Plaintiffs,
14
     v.                                              NOTICE OF SETTLEMENT
15
     JOSEPH M. ARPAIO, Sheriff of
16   Maricopa County, Arizona, in his
     individual and official capacities;
17   CAPTAIN RAY JONES, in his individual
     capacity; LIEUTENANT JOE SOUSA, in
18   his individual capacity; SERGEANT
     GEORGE ACRITELLI, in his individual
19   capacity; SERGEANT GUADALUPE
     RIOS, in his individual capacity;
20   OFFICER GUILLERMO MONTANO, in
     his individual capacity; JOHN DOES I
21   THROUGH III, in their individual
     capacities; and MARICOPA COUNTY,
22   ARIZONA,
23                        Defendants.
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      Case 2:09-cv-01719-DGC Document 175 Filed 07/01/11 Page 2 of 3



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 1          Pursuant to Local Rule 40.2(d), notice is hereby given to the Court that the
 2   parties have reached a settlement in this matter. The parties anticipate that they will file
 3   the appropriate settlement documents with the Court within 30 days.
 4          RESPECTFULLY SUBMITTED this lst day of July, 2011.
 5
 6          Dated: July 1, 2011                ACLU FOUNDATION OF ARIZONA
 7                                             ACLU FOUNDATION
                                                 IMMIGRANTS’ RIGHTS PROJECT
 8
                                               RYALS & BREED PC
 9
10                                              By /s/ Anne Lai
                                                  Anne Lai
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14                                                 Attorneys for Plaintiffs
15                                CERTIFICATE OF SERVICE
16           I hereby certify that on the 1st day of July, 2011, I caused the attached document
     to be electronically transmitted to the Clerk’s Office using the CM/ECF System for
17   filing and transmittal of a Notice of Electronic Filing to the following CM/ECF
     registrants:
18
19                            Attorneys for Defendants
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23
            Dated: July 1, 2011
24                 Phoenix, Arizona
25                                                     /s/ Gloria A. Torres __
                                                           Paralegal
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27
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